Case 3:23-cv-06522-MMC Document 75-9 Filed 01/26/24 Page 1 of 3




         EXHIBIT H
                 Case 3:23-cv-06522-MMC Document 75-9 Filed 01/26/24 Page 2 of 3



web.archive.org /web/20231220234035/https://sfist.com/2017/08/24/internet_archive_trying_to_digitize/

Internet Archive Trying To Digitize Every Old 78 Record In
Existence
Joe Kukura ⋮ ⋮ 8/24/2017




Fans of old vinyl records will not hiss at this news: The Internet Archive and the Archive of Contemporary
Music are attempting to preserve and digitize every single remaining 78-rpm vinyl album, and they're putting
each of these recordings online, for free. Via Laughing Squid, we learn that something called the Great 78
Project is collecting old 78 records by the hundreds of thousands, digitizing them, and posting them so you
can stream them.

For free.

                                        https://t.co/JlBcUKrF5h Bumble Boogie,
                                                Performer: Jack Fina, Fina

                                — thegreat78project (@great78project) August 24, 2017

For those of you who are not enrolled in AARP, 78s or “78 rpm records” were records made from the 1920s
and 30s that played according to the first standardized speed of phonographs, which was 78 revolutions per
minute. (Record speeds were not standardized until 1925.)

                               https://t.co/PNFxaL2UMD Juke Box Saturday Night,
                   Performer: The Modernaires, Paula Kelly, Mitchell Ayres, Stillman, McGrane

                                — thegreat78project (@great78project) August 23, 2017

These 78s, of course, eventually gave way to the 33 ⅓ long-play LP in the 1930s, and the 45 rpm ‘single
track’ record that became popular in the 40s. As the decades marched on, those vinyl records endured
among collectors while the mass market turned its tastes to 8-track cartridges, then cassette tapes, then
compact discs, and now the digital format into which these old treasures are being converted.

                               https://t.co/iTetqpB2L0 Wet Yo' Thumb (Chupate el Dedo),
                           Performer: Zez Confrey and His Orchestra, Harry Akst, Mr. Confrey

                                — thegreat78project (@great78project) August 23, 2017

“We aim to bring to light the decisions by music collectors over the decades and a digital reference collection
of underrepresented artists and genres,” the Great 78 Project says on their website. “The digitization will



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                Case 3:23-cv-06522-MMC Document 75-9 Filed 01/26/24 Page 3 of 3

make this less commonly available music accessible to researchers in a format where it can be manipulated
and studied without harming the physical artifacts.”

       https://t.co/kGBXgVMtBP Crazy Words - Crazy Tune (Vo-Do-De-O) (Palabras locas, tono loco),
                               Performer: Six Jumping Jacks, The Bonnie Laddi...

                            — thegreat78project (@great78project) August 22, 2017

Yes, the ‘vinyl hiss’ remains intact, and that’s on purpose. “We have preserved the often very prominent
surface noise and imperfections and included files generated by different sizes and shapes of stylus to
facilitate different kinds of analysis,” the website notes.

                                       https://t.co/55btq2IVSH Palesteena,
                     Performer: Original Dixieland Jazz Band, J. R. Robinson, Con Conrad

                            — thegreat78project (@great78project) August 22, 2017

This is not an aspirational project  the Great 78 Project already has about 200,000 78s listed and available
online. Their Twitter feed posts another new one pretty every 10-15 minutes.

                        https://t.co/i8qfqXiIgW Mama Don't 'Low No Music Playin' Here,
                        Performer: Russ Brown & Cadets, Gene Autry, Smiley Burnette

                            — thegreat78project (@great78project) August 22, 2017

If you have old 78s you’d like to donate, the Great 78 Project will accept your old 78 records and digitize
them to post online. But reading their FAQs, it does not appear they will ship those old records back to you.
But the old records won’t be taking up space for you anymore, and the whole world will be able to enjoy your
collection online.

Every single 78 in existence sounds like a pretty impossible goal. But with nearly a quarter million already
archived and an estimated three million in existence, they are on their way to the hitting the ten percent
mark.

Related: The 9 Best Record Stores In The Bay Area




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